EXHIBIT A
                                06D01 -2411 -PL-001925 Filed: 11/22/2024 2;12PM
                                                                               Clerk
                                     Boone Superior Court 1 Boone County, Indiana




STATE OF INDIANA ) IN THE BOONE SUPERIOR COURT 1
                      )SS:
COUNTY OF BOONE ) CAUSE NO. 06D01-

NEIL BURCH/ )
                                                )
      Plaintiff/                              )
                                                )
vs.                                     )
                                                )
SHEIN DISTRIBUTION CORPORATION and )
STYLE LINK LOGISTICS LLC/ )
                                                )
      Defendants.                             )


                                      SUMMONS

The State of Indiana to Defendant:


                            Shein Distribution Corporation
                     c/o Paracorp Incorporated, Registered Agent
                              320 N. Meridian St./ Ste. 817
                                Indianapolis/ IN 46204


      You have been sued by the person(s) named "Plaintiff in the court stated above.


      The nature of the suit against you is stated in the complaint which is attached to
this document. It also states the demand which Plaintiff has made and wants from you.


      You must answer the complaint in writing/ by you or your attorney/ within
twenty (20) days (twenty-three days if received by mail) commencing the day after you
receive complaint and summons/ or judgment will be entered against you for what
Plaintiff has demanded.


      If you have a claim for relief against Plaintiff arising from the same
occurrence/ you must assert it in your written answer. /^-\Q^ 0/V^
                                                                        y <y^r 'r l"^


            11/22/2024 ^ ^
Date: "'~'"-' ff^M. ^.
                                                    Clerk/ Boone Sup<
                                                               (seal) \v
Attorney for Plaintiff:                            SERVICE BY: X           Certified Mail
Jason P. Cleveland                                                          Sheriff of
CLEVELAND LEHNER CASSIDY                                                        Boone County
1901 Broad Ripple Ave.                                                          Personal Service
Indianapolis/ IN 46220


                               CERTIFICATE OF MAILING

I hereby certify that on the       day of           ^ 20241 mailed a copy of this summons
and a copy of the complaint to each of the defendant s) by [registered or certified] mail
requesting a return receipt signed by the addressee only/ addressed to each of said
defendant(s) at the address(es) furnished by Plaintiff.


Date:
                                                          Clerk/ Boone Superior Court
                                                                       (seal)

                     RETURN OF SERVICE OF SUMMONS BY MAIL

I hereby certify that service of summons with return receipt requested was mailed on
the _ day of _, 2024, and that a copy of return receipt was received
on the _ day of _/ 2024, which copy is attached herewith.


Date:
                                                  Clerk/ Boone Superior Court
                                                              (seal)


         CERTIFICATE OF CLERK OF SUMMONS NOT ACCEPTED BY MAIL

I hereby certify that on the _ day of                           ^ 2024,1 mailed a copy of
this summons and a copy of the complaint to the defendant(s) by [registered or
certified] mail/ and the same was returned without acceptance this _ day of
                     ^ 2024 and I did deliver said summons and a copy of the complaint
to the Sheriff of              County/ Indiana.


Date:
                                                  Clerk/ Boone Superior Court
                                                                  (seal)
                          RETURN ON SERVICE OF SUMMONS

         I hereby certify that I have served the within summons:


         1. By delivering on the _ day of ., 2024, a copy of this
summons and a copy of the complaint to each of the within-named defendant(s)


         2. By leaving on the _ day of _, 2024 for each of the within-
named defendant(s) _ a copy of the
summons and a copy of the complaint at the respective dwelling house or usual place of
abode.

         3. _and by mailing a copy
of the summons without the complaint to _at
                               _, the last known address of defendant(s).


All done in Boone County/ Indiana Fees: $_




Sheriff of Boone County By Deputy




                               SERVICE ACKNOWLEDGED

A copy of the within summons and a copy of the complaint attached thereto were

received by me at _ this _ day of
2024.



                                           Signature of Defendant
                                  06D01-2411-PL-001925 Filed: 11/22/2024 2:i2Ph
                                                                                              Cleri
                                      Boone Superior Court 1 Boone County, Indian;




STATE OF INDIANA ) IN THE BOONE SUPERIOR COURT 1
                      )SS:
COUNTY OF BOONE ) CAUSE NO. 06D01-

NEIL BURCH/ )
                                                  )
       Plaintiff/                               )
                                                  )
vs.                                       )
                                                  )
SHEIN DISTRIBUTION CORPORATION and )
STYLE LINK LOGISTICS LLC/ )
                                                  )
       Defendants. )

                   COMPLAINT AND DEMAND_FOR TURY TRIAL

       Plaintiff/ Neil Burch (//Plaintiff/)/ by counsel/ files his Complaint and Demand for


Jury Trial against Defendants/ Shein Distribution Corporation (//Shein ) and Style Link


Logistics LLC ("Style Link//) (collectively //Defendants//)/ and states as follows:

                         PARTIES/ TURISDICTION AND VENUE

       1. Plaintiff is an individual formerly jomtly employed by Shein and Style


Lmk.


       2. Defendant Style Link operates a distribution center for Defendant Shein


located at 5400 E 500 S/ Whitestown/ IN 46075.

       3. All of the actions and events relevant to this Complaint occurred at the


distribution center located in Whitestown.

       4. Venue is proper in Boone County/ Indiana pursuant to Indiana Rule of


Trial Procedure 75(A).
                                            FACTS

        5. Defendant Style Link lists its primary office address at 5400 E 500 S/


Whitestown/ IN 46075.

        6. The distribution center located at 5400 E 500 S/ Whitestown/ IN 46075


prominently displays the corporate name SHEIN over the main entrance to the

facility.


        7. Some employees who work in the distribution center are designated as


Style Link employees and others are designated as Shem employees/ but all Style Link

employees ultimately report to Shein employees.

        8. Defendants operate a distribution center that receives/ processes/ and


distributes products to consumers.


        9. The products Defendants distribute include hazardous materials such as


certain types of batteries and cosmetics.


        10. Defendants are required to package and label hazardous materials in


accordance with federal shipping laws.

        11. The Hazardous Materials Transportation Act/ codified as 49 U.S.C. § 5101


et see}., governs the transportation of hazardous materials in commerce to protect against


the risks to life, property/ and the environment that are inherent in the transportation of


hazardous materials.


       12. 49 U.S.C. § 5123 states that a person who knowingly violates the laws


governing the transportation of hazardous materials is subject to civil penalties.
       13. 49 U.S.C. § 5124 states that a person who knowingly violates the laws


governing the transportation of hazardous materials is subject to imprisonment

       14. Plaintiff began working for Defendants on or about April 1, 2024 as a


Training Manager.


       15. Defendants jointly exercised control over the terms and conditions of


Plaintiff s employment.


       16. At all relevant times/ Plaintiffs direct supervisor was Style Link s Director

of Operations/ William Wash (//Wash//); Wash's direct supervisor was Shein s Director


of Warehouses/ Tao //Terry// Lu (//Lu//); and Lu/s direct supervisor was Shein/s Head of


US Logistics/ Wei "Andy" Huang (//Huang//).


       17. Plaintiff has approximately 35 years of experience working as a training


instructor/ training supervisor/ and training manager.


       18. In his role as Training Manager for Defendants/ Plaintiff supervised three


Training Supervisors and had several responsibilities involving onboarding and


training new employees/ including/ but not limited to/ traimng employees on the


handling and shipping of hazardous materials.

       19. Defendants had a designated area in the distribution center where


hazardous materials were supposed to be packaged separate from non-hazardous


materials.


       20. After his hire/ Plaintiff discovered that a significant number of products


constihiting hazardous material were misplaced about the distribution center that


should have been in the designated area for packaging hazardous materials.

                                           3
          21. In or about August 2024, Defendants began testing an automated scanning


system/ which was supposed to identify incoming products that qualify as hazardous

materials (the "Auto System//).


          22. The Auto System did not function properly and regularly failed to


accurately identify hazardous products.

          23. Plaintiff and his subordinates repeatedly informed Defendants that the

Auto System was malfunctioning and not ready for implementation in the distribution


center.



          24. In or about August 2024, Huang visited the Whitestown distribution


center. During his visit/ he went to the hazardous materials shipping area. Huang


became angry about the boxes that were being used to ship hazardous materials/ yelling


and complaining that Defendants were spending too much money on shipping

hazardous materials.


          25. In or about August 2024, Huang informed Wash that Defendants were

going to start shipping all products in //poly// bags/ including hazardous materials/ that

are not compliant with federal laws governing the transportation of hazardous


materials (the //New Policy//).


       26. Wash told Huang that Defendants could not ship hazardous materials in


poly bags and needed to comply with federal law.

       27. Huang told Wash to stay out of it; not to worry about it; that no one


would go to jail; and compared it to running a red light in a car/ saying that if you get


caught/ you just pay the fine and move on with your life.

                                             4
       28. On or about September 16, 2024, Wash informed Plaintiff about the New


Policy that Defendants were no longer going to be labeling and shipping hazardous

materials properly and instead would be shipping them in poly// bags that are not


compliant with federal law governing the shipping of hazardous materials.

       29. Plaintiff immediately expressed concern about the New Policy and


objected to the same.

       30. Wash indicated that he understood Plaintiff's concerns but had no control


over the New Policy as it was being implemented by executive employees of Shein over


his objection.

       31. Later that day/ Plaintiff attended a meeting where Wash informed


Defendants senior level managers about the New Policy.


       32. Plaintiff spoke up during the meeting and stated that what Defendants


intended to do regardmg the New Policy was illegal.

       33. On September 17, 2024, Plaintiff sent an email to Defendants7 ethics team/

stating/ //[t]he direction given to the distribution center in Whitestown/ IN to not


package HAZ items correctly starting 9/18/2024 is unethical/ immoral/ reckless/


dangerous/ and illegal. I will not follow this direction or comply in any way placing our

carriers/ drivers/ customers/ the company/ our employees/ the general population or


myself in potential danger or legal trouble. Following this practice goes against every

part of my being and would compromise my integrity and character as a leader. I will

not follow this or direct other to do so.// Plaintiff then included in the email various
postings from common parcel carriers/ stating that shipping hazardous materials


improperly can result in civil and criminal penalties.

       34. On September 18, 2024, Plaintiff resent the same email to the ethics team


as well as to several of Defendants' executives/ including Wash; Lu; Huang; Shein s


Human Resource Business Partner/ Katrina Chen ( Chen ); and Shein s Human


Resource Manager/ Jane Burke (Burke ).


       35. Later that day/ Huang emailed Wash and directed him- to manage out


Burch by September 30, 2024 under the threat of retaining his own job.

      36. Wash told Huang that Defendants could not terminate Burch because


Defendants had never disciplined Burch or placed him on a performance improvement

plan ("PIP"),

      37. Huang told Wash that he wanted Burch //gone// and directed him to place


him on a PIP but made it clear to Wash that he still wanted Burch terminated.


      38. On September 30, 2024, Plaintiff was summoned to a meeting with Wash

and Burke who placed in front of him two documents - a PIP and a proposed severance


agreement with "Shein Distribution Corporation" ~ stating that he had 24 hours to


accept the severance or be placed on the PIP.


      39. Defendants had never issued any discipline to Plaintiff for alleged


performance deficiencies prior to September 30,2024.

      40. The following day/ October 1, 2024, Plaintiff contacted Wash and inquired


about the terms of the severance agreement/ specifically that the agreement stated he


had 21 days to consider the same. Wash responded that Plaintiff had to provide him

                                            6
with a signed agreement that day if he wanted to accept the severance instead of being

placed on the PIP.

        41. Defendants' actions clearly indicated to Plaintiff that he would ultimately


be terminated if he did not accept the severance.


        42. Wash's and Burke/s actions were authorized by Defendants/ were carried


out in furtherance of Defendants' policies/ and were intended by Defendants to cause


Plaintiff emotional distress.


        43. Under duress/ and without being allowed an opportunity to seek legal

counsel/ Plaintiff delivered an executed severance agreement to Wash.


        44. Defendant's actions constitute a constructive discharge of Plaintiff.


        45. Pursuant to the terms of the severance agreement/ "Employee may revoke


Employee's acceptance of this Agreement within seven (7) calendar days after the date


Employee signs it. Employee s revocation must be in writing and received by Jane

Burke/ HR Manager . . . before the eighth day (from Employee's date of execution of this


Agreement) in order to be effective ('Revocation Period'). If Employee does not revoke

acceptance of tHs Agreement within the Revocation Period/ Employee s acceptance of


this Agreement shall become binding and enforceable on the eighth day ^Effective

Date/).//


       46. Plaintiff emaxled Burke before the eighth day following his execution of


the severance agreement and revoked his acceptance.


       47. Burke emailed Plaintiff and acknowledged his revocation.

       48. Plaintiff has suffered harm because of Defendants' unlawful acts.
                                         COUNT I

                     RETALIATORY DISCHARGE (MCCLANABANl

       49. Plaintiff incorporates by reference paragraphs 1 " 48 of his Complaint.


       50. Defendants constructively discharged Plaintiff for refusing to commit an

illegal act for which he would have been personally liable (McClanahan v. Remington


Freight Lines, 517 N.E.2d 390 (1988)).

       51. Defendants unlawful actions were intentional/ willful/ and done in


reckless disregard of Plaintiff s rights as protected by Indiana common law.

                                         COUNTII

              INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS
  f




       52. Plaintiff incorporates by reference paragraphs 1 - 51 of his Complaint.

       53. Defendants engaged in extreme and outrageous conduct towards Plaintiff.


       54. Defendants7 conduct intentionally or recklessly caused severe emotional


distress to Plaintiff.

                                 REQUEST FOR RELIEF

       WHEREFORE/ Plaintiff/ Neil Burch/ respectfully requests judgment in his favor


and agamst Defendant and order that:


       I. Defendants pay past and prospective lost wages and benefits to Plaintiff;

       II. Defendants pay compensatory damages to Plaintiff;

       III. Defendants pay punitive damages to Plaintiff;


       IV. Defendants pay pre-judgment and post-judgment interest;
           V. Defendants pay Plaintiff s attorneys' fees and costs incurred in litigating


                 this action; and


           VI. Defendants pay to Plaintiff any and all other legal and/or equitable


                 damages that this Court deems appropriate.




                                            Respectfully Submitted:

                                            s/ Jason P. Cleveland^
                                            Jason P. Cleveland/ 24126-53
                                            Thaddeus M. Keefer/ 36337-49
                                            CLEVELAND LEHNER CASSIDY
                                            1901 Broad Ripple Ave.
                                            Indianapolis/ IN 46220
                                            Tel: 317-388-5424
                                            jason@clcattorneys .corn
                                            thaddeus@clcattorneys .corn


                                            Attorneys for Plaintiff




                                DEMAND FOR JURY TRIAL

       Plaintiff/ Nell Burch/ respectfully requests a jury trial for all issues deemed

triable.


                                            Respectfully Submitted/

                                            s/ Jason P. Cleveland.
                                           Jason P. Cleveland/ 24126-53
